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   6                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   7
        COASTAL CORPORATION LTD.              CASE NO:
   8                                          2:22−cv−02687−DSF−JEM
                       Plaintiffs,
   9                                          ORDER RE JURY TRIAL
             v.
   10                                         I.     DEADLINES
        HARVEST KING TRADING USA, LIMITED ,
        et al.
   11
                                              A.     Motion to Amend Pleadings or Add
   12                                                Parties Cut-off:
                                                     10/21/2022
   13                 Defendants.             B.     Discovery Cut−Off:
                                                     1/23/2023
   14
                                              C.     Expert Witness Exchange Deadline:
                                                     Initial: 11/21/2022;
   15                                                Rebuttal: 12/19/2022;
                                                     Cut−off: 1/23/2023
   16
                                              D.     Motion Hearing Cut−off:
   17                                                3/13/2023

                                              E.     ADR Cut−off:
   18                                                3/27/2023

   19                                         F.     Trial Documents (Set One):
                                                     4/24/2023
   20
                                              G.     Trial Documents (Set Two):
                                                     5/1/2023
   21
                                              H.     Final Pre-Trial Conference:
   22                                                5/15/2023 at 03:00 PM

   23                                         I.     Trial Date:
                                                     6/20/2023 at 08:30 AM
   24
                                              II.    TRIAL PREPARATION
   25
                                              III.   CONDUCT OF ATTORNEYS
   26                                                AND PARTIES

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                                                 I
   2                                      DEADLINES
   3          A.     PARTIES/PLEADINGS
   4          The Court has established a cut−off date for adding parties or amending
   5     pleadings. All motions to add parties or to amend the pleadings must be noticed
   6     to be heard on or before the cut−off date. All unserved parties will be dismissed at
   7     the time of the pretrial conference pursuant to Local Rule 16−8.1.
   8          B.     DISCOVERY AND DISCOVERY CUT−OFF
   9          1. Discovery Cut−off: The Court has established a cut−off date for
   10    discovery and expert discovery if applicable. This is not the date by which
   11    discovery request must be served; it is the date by which all discovery, including
   12    all hearing on any related motions, is to be completed. The parties should review
   13    carefully any motion requirements of the assigned magistrate judge to ensure that
   14    motions are made timely.
   15         2. Discovery Disputes: Counsel are expected to comply with all Local
   16    Rules and the Federal Rules of Civil Procedure concerning discovery. Whenever
   17    possible, the Court expects counsel to resolve discovery problems among
   18    themselves in a courteous, reasonable, and professional manner. The Court
   19    expects that counsel will adhere strictly to the Civility and Professionalism
   20    Guidelines, which can be found on the Court's website under “Attorney
   21    Information>Attorney Admissions.”
   22         3. Discovery Motions: Any motion challenging the adequacy of discovery
   23    responses must be filed, served, and calendared sufficiently in advance of the
   24    discovery cut-off date to permit the responses to be obtained before that date if the
   25    motion is granted
   26         4. Depositions: All depositions must commence sufficiently in advance of
   27    the discovery cut-off date to permit their completion and to permit the deposing
   28    party enough time to bring any discovery motions concerning the deposition

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         before the cut-off date.
   2          5. Written Discovery: All interrogatories, requests for production of
   3     documents, and requests for admissions must be served sufficiently in advance of
   4     the discovery cut-off date to permit the discovering party enough time to

   5     challenge (via motion practice) responses deemed to be deficient.
   6          6. Expert Discovery: All disclosures must be made in writing. The parties
   7     should begin expert discovery shortly after the initial designation of experts. The
   8     pretrial conference and trial dates will not be continued merely because expert
   9     discovery is not completed. Failure to comply with these or any other orders
   10    concerning expert discovery may result in the expert being excluded as a witness.
   11         C.     MOTIONS
   12         The Court has established a cut-off date for the hearing of motions. All

   13    motions must be noticed so that the hearing takes place on or before the motion
   14    cut-off date. Counsel must provide Chambers with conformed paper chambers
   15    copies of all documents. Chambers copies should not be put in envelopes.
   16    Counsel should consult the Court's Standing Order, previously provided, to
   17    determine the Court's requirements concerning motions. A copy ofthe Standing

   18    Order is also available on the Court's website at www.cacd.uscourts.gov>Judges'

   19    Procedures and Schedules>Hon. Dale S. Fischer.

   20         D.      PRETRIAL CONFERENCE
   21         1.     A pretrial conference date has been set pursuant to Rule 16 of the
   22    Federal Rules of Civil Procedure and Local Rule 16-8. Each party appearing in
   23    this action must be represented at the pretrial conference by the attorney who is to
   24    have charge of the conduct of the trial on behalf of such party, unless excused for

   25    good cause. Counsel should not claim to be co-lead trial counsel for the purpose

   26    of avoiding this requirement. If counsel purport to be co-lead trial counsel, both

   27    must attend the pretrial conference. Counsel should be prepared to discuss
   28    streamlining the trial, including presentation of testimony by deposition excerpts or

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         summaries, time limits, stipulations to admissions of exhibits and undisputed facts.
   2          2.       STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
   3     THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
   4     REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES

   5     FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
   6     contentions of fact and law, witness lists, a joint exhibit lists, and a proposed
   7     pretrial conference order must be submitted in accordance with the Rules and this
   8     Order, and the format of the proposed pretrial conference order must conform to
   9     the format set forth in Appendix A to the Local Rules. Failure of documents to
   10    comply with these requirements may result in the pretrial conference being taken
   11    off-calendar or continued, or in other sanctions.
   12         3. The memoranda of contentions of fact and law, witness lists, and the

   13    joint exhibit list must be filed not later than the dates set by the Court.
   14         4. In addition to the requirements of Local Rule 16, the witness lists must
   15    include a brief (one or two paragraph) description of the testimony, and a time
   16    estimate for both direct and cross-examination (separately stated). If two or more
   17    witnesses will testify on the same topics, counsel must explain why more than one

   18    witness is necessary. A separate version of the witness list containing only the

   19    names of the witnesses and a separate column to insert the dates on which the

   20    witness testified, and the joint exhibit list, must be submitted to the Chambers
   21    email box in Word format. Mandatory paper chambers copies must also be
   22    submitted.
   23         5. Other documents to be filed in preparation for, and issues to be
   24    addressed at, the pretrial conference are discussed below.

   25         E.      ALTERNATIVE DISPUTE RESOLUTION (ADR)

   26              PROCEDURES/NOTICE OF SETTLEMENT
   27         1. Counsel must complete an ADR proceeding no later than the date set by
   28    the Court.

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              2. No case will proceed to trial unless all parties, including an officer of all
   2     corporate parties (with full authority to settle the case), have appeared personally
   3     at an ADR proceeding.
   4          3. If settlement is reached, it must be reported immediately to the

   5     courtroom deputy clerk (CRD) as required by Local Rule 16-15.7 regardless of
   6     the day or time settlement is reached. In addition, counsel must immediately send
   7     a notification of the settlement to the Chambers email box
   8          4. In all cases set for jury trial, the parties must notify the Court no later
   9     than the Wednesday preceding the Tuesday trial date of any settlement so that the
   10    necessary arrangements can be made to schedule a different case for trial or notify
   11    the members of the public who would otherwise be reporting for jury duty that
   12    their services are not needed on that date.

   13         5. Failure to comply with these notification requirements will cause
   14    counsel/parties to be charged for the costs related to proceeding jurors and may
   15    result in the imposition of sanctions on counsel for one or more parties, their
   16    clients, or both.
   17                                            II

   18                        ADDITIONAL TRIAL PREPARATION

   19         A.      MOTIONS IN LIMINE

   20         All motions in limine must be filed by the date established by the Court.
   21    Each side is limited to five motions in limine unless the Court orders otherwise for
   22    good cause shown. Counsel are to meet and confer to determine whether
   23    opposing counsel intends to introduce the disputed evidence, etc. and to attempt to
   24    reach an agreement that would obviate the motion. Opposition must be filed by

   25    the date established by the Court. The Court generally will rule on motions in

   26    limine at the pretrial conference. Motions in limine should address specific issues
   27    (i.e., not “to exclude all hearsay,” etc.). Motions in limine should not be disguised
   28    motions for summary adjudication of issues.

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              B.       JURY INSTRUCTIONS, SPECIAL VERDICT FORMS, VOIR
   2                   DIRE, JURY SELECTION
   3          1. At least fourteen days before the meeting of counsel required by Local
   4     Rule 16−2 (which must occur at least 40 days before the date set for the pretrial

   5     conference), plaintiff(s) counsel must serve on defense counsel proposed jury
   6     instructions and proposed verdict/special verdict forms. Within 7 days, defense
   7     counsel must serve objections, if any, to those instructions and verdict forms, as
   8     well as any proposed alternative or additonal instructions and verdict forms.
   9     Before or at the Rule 16-2 meeting, counsel must attempt to come to agreement on
   10    the proposed jury instructions and verdict forms.
   11         2.       When the Manual of Model Jury Instructions for the Ninth Circuit
   12    provide an applicable jury instructions, the parties should submit the most recent

   13    versions, modified and supplemented to fit the circumstances of this case. Where
   14    language appears in brackets, the appropriate language should be selected. All
   15    blanks should be completed. Where California law applies, counsel should use
   16    the current edition of California Jury Instructions - - Civil (BAJI or CACI). If
   17    neither is applicable, counsel should consult the instructions manuals from other

   18    circuits or states, as applicable. When submitting other than Ninth Circuit or

   19    California instructions, counsel should be sure that the law on which the

   20    instructioins is based is the same as Ninth Circuit law (or California or other state
   21    law, if applicable) on the subject. Counsel may submit alternatives to the Ninth
   22    Circuit model jury instructions, or BAJI or CACI, only if counsel has a reasoned
   23    argument that those instructions do not properly state the law or they are
   24    incomplete.

   25         3. The Court has its own introductory instructions (instructions read before

   26    opening statements). Counsel should provide only instructions to be read after the
   27    evidence has been submitted or that may be appropropriate during trial.
   28         4. Each requested instruction must (a) cite the authority or source of the

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         instructions, (b) be set forth in full, (c) be on a separate page, (d) be numbered, (e)
   2     cover only one subject or principle of law, and (f) not repeat principals of law
   3     contained in any other requested instructions.
   4          5. By the date set by the Court, counsel must file with the Court and submit

   5     (electronically to the Chambers email box and in paper form) a JOINT set of jury
   6     instructions on which there is agreement. The Court expects counsel to agree on
   7     the substantial majority of jury instructions, particularly when pattern or model
   8     instructions provide a statement of applicable law. If one party fails to comply
   9     with the provisions of this section, the other party must file a unilateral set of jury
   10    instructions, unless that party wishes to waive jury trial.
   11         6. At the same time, each party must file with the Court and submit
   12    (electronically to the Chambers email box in paper form) its proposed jury

   13    instructions that are objected to by any other party. Each disputed instruction
   14    must have attached a short (one or two paragraph) statement, including points and
   15    authorities in support of the instructionsas well as brief statement, including
   16    points and authorities, in support of any objections. A proposed alternative
   17    instruction must be provided, if applicable. If the Court believes there are so

   18    many disputed instructions that the trial would be unnecessarily interrupted in

   19    order for the Court to resolve disputes, the Court will determine that the matter is

   20    not yet ready to be tried, and will order counsel to continue to meet and confer
   21    until most of the disputes are resolved.
   22         7. Counsel must provide the documents described in paragraphs 5 and 6 to
   23    the Chambers email box in Word format at the time they file their proposed jury
   24    instructions.

   25         8. The Court will send one or more copies of the instructions into the jury

   26    room for the jury's use during deliberations. Therefore, in addition to the copies
   27    described above, the Chambers email versions must contain a “clean” set of jury
   28    instructions, containing only the text of the instructions (one per page) with the

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         caption “Instruction No. [Leave blank] at the top (eliminating table of contents,
   2     titles, supporting authority, etc.). This document must have page numbers.
   3          9. Counsel must provide an index of all instructions submitted, which must
   4     include the following:

   5                 a. The number of the instruction.
   6                 b. The title of the instruction;
   7                 c. the source of the instruction and any relevant case citations;
   8                 d. The page number of the instruction.
   9     For example:
   10         Number                  Title               Source            Page
   11            1                Duty of the Jury       9th Cir. 1.4        1
   12
   13         10. FAILURE TO FOLLOW THE PRECEDING PROVISIONS OF

   14    THIS SECTION WILL SUBJECT THE NON-COMPLYING PARTY AND
   15    ATTORNEY TO SANCTIONS AND WILL BE DEEMED TO
   16    CONSTITUTE A WAIVER OF JURY TRIAL.
   17         11. During the trial and before argument, the Court will meet with counsel

   18    and settle the instructions, and counsel will have an opportunity to make a further

   19    record concerning their objections.

   20         12. At the time of lodging the proposed pretrial conference order, counsel

   21    should file a jointly prepared one or two page statment of the case to be read by
   22    the Court to the prospective panel of jurors before commencement of voir dire.
   23         13. The Court will conduct the voir dire. The Court provides a list of basic
   24    questions, and may provide a list of additional questions to jurors before voir dire.

   25    (This is not a questionnaire to be completed by jurors.) Counsel may, but are not

   26    required to, file and submit (electronically to the Chambers email box and in paper

   27    form in Word format) a list of proposed case-specific voir dire questions at the
   28    time they lodge the proposed pretrial conference order

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              14. In most cases the Court will conduct its initial voir dire of 16
   2     prospective jurors who will be seated in the jury box. Generally the Court will
   3     select eight jurors.
   4          15. Each side will have three peremptory challenges. Once all challenges

   5     for cause and peremptory challenges are exercised, the eight jurors in the lowest

   6     numbered seats will be the jury. If fewer than eight jurors remain, the Court may

   7     decide to proceed with six or seven jurors.
   8          C. GLOSSARY, TRIAL EXHIBITS WITNESS LISTS, ETC.

   9          1. All counsel are to meet not later than ten days before trial and to

   10    stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,

   11    and to those exhbits that may be received into evidence at the start of the trial.

   12         2. At least one week before trial, counsel must send to the Chambers email

   13    box in Word format:

   14                 a. A case-specific glossary for the court reporter that includes

   15    applicable medical, scientific, or technical terms, slang, the names and spellings of

   16    case names likely to be cited, street/city/country names, all parties/entities

   17    involved in the case, names of people interviewed/deposed, names of family

   18    members, friends, or others who might be mentioned, and other case-specific

   19    terminology;

   20                 b. The party’s witness list, with a column to add the date on which

   21    the witness testified;

   22                 c. The joint exhibit list in the form specified in Local Rule 16-6. An

   23    annotated exhibit list identifying the exhibits to be received into evidence at the

   24    start of the trial must also be provided.

   25         3. On the first morning of trial, counsel must submit to the CRD:

   26                 a. All original exhibits (except those to be used for impeachment

   27    only), with official exhibit tags attached and bearing the same number shown on

   28    the exhibit list. Exhibit tags may be obtained from the receptionist in the Public

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         Intake Section, located on the 1st floor of the Edward R. Roybal Federal Building
   2     at 255 East Temple St., Room 180. Digital exhibit tags are also available on the
   3     Court's website under Court forms>General forms>Form G-14A (plaintiff) and
   4     G-14B (defendant). Exhibit must be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc.

   5     and in accordance with Local Rule 16-6. The defense exhibit numbers must not
   6     duplicate plaintiff's numbers. If a “blow-up” is an enlargement of an existing
   7     exhibit, it must be designated with the number of the original exhibit followed by
   8     an “A.”;
   9                  b. Two sets of the exhibits that can be reproduced (one for the Court
   10    and one for witnesses) placed in three-ring binders with divider tabs containing
   11    the exhibit numbers. The face and spine of the binders must be marked with the
   12    case name and number, the volume number, and the number range of the exhibits

   13    in the binder. Each binder must contain an index of the exhibits included in the

   14    volume.

   15         4. A copy of the exhibit list with all admitted exhibits will be given to the
   16    jury during deliberations. Counsel must review and approve the exhibit list with
   17    the CRD before the list is given to the jury.

   18         5. Where a significant number of exhibits will be admitted, the Court

   19    encourages counsel, preferably by agreement, to consider ways in which

   20    testimony about exhibits may be intelligible to the jury while it is being

   21    presented. Counsel should consider such devices as jury notebooks for admitted

   22    exhibits, or enlargements of important exhibits. The Court has an Elmo and other
   23    equipment available for use during trial. Information concerning training on the
   24    use of electronic equipment is available. Details are posted on the Court's

   25    website. To make reservations for training, call 213-894-3061 The Court does

   26    not permit exhibits to be “published” by passing them up and down the jury box.

   27    Exhibits may be displayed briefly using the screens in the courtroom, unless the

   28    process becomes too time-consuming.

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              6. Counsel must not attempt to display or use any charts or enlargements of
   2     exhibits unless all counsel have agreed to their use or objections have been heard
   3     and a ruling has been made.
   4          D. TRIAL
   5          1. On the day of jury selection, trial will begin at 9:00 a.m. Counsel must
   6     be prepared to go on the record at 8:30 a.m. Thereafter, trial days are generally
   7     Tuesday through Friday, 8:00 a.m. to 2:00 p.m., with three fifteen-minute breaks.
   8     When necessary, trials may continue beyond the normal schedule. If counsel
   9     contemplate that this schedule will be problematic due to the availability of
   10    witnesses, counsel should provide details to the Court at the pretrial conference.
   11         2. On the day of jury selection, the Court reserves the time from 8:30 a.m.
   12    to 9:00 a.m. to handle legal and administrative matters. Jury selection will begin
   13    promptly at 9:00 a.m. or as soon as jurors are available. Thereafter, legal and
   14    adminstrative matters must be addressed between 7:45 a.m. and 8:00 a.m. All
   15    counsel are urged to anticipate matters that may need to be addressed outside of
   16    the presence of the jury and to raise them during this period or at the end of the
   17    day. The Court does not make jurors wait while counsel discuss matters that
   18    should have been addressed previously. Counsel are urged to consider any
   19    unusual substantive or evidentiary issues that may arise, and to advise the Court of
   20    such issues as early as possible. Short briefs addressing such disputed issues are
   21    welcome.
   22         3. Before trial begins, the Court will give counsel an opportunity to discuss
   23    administrative matters and anticipated procedural or legal issues. Before trial
   24    begins, and as soon as the information becomes available to counsel, counsel
   25    should advise the court of any concerns or accommodations that are requested for
   26    parties or witnesses. During trial, if there are any matters to be discussed outside
   27    the presence of the jury, counsel must advise the CRD of the request. The Court
   28    discourages sidebars during trial.

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              4. All orders for transcripts must be ordered through the court reporters, Pat
   2     Cuneo, who can be contacted through www.patcuneo.com
   3                                           III
   4                   CONDUCT OF ATTORNEYS AND PARTIES

   5          A. OPENING STATEMENTS, EXAMINIG WITNESSES, AND
   6              SUMMATION
   7          1. Counsel must use the lectern for opening statements, examination of
   8     witnesses, and summation.
   9          2. Counsel must not consume time by writing out words, drawing charts or
   10    diagrams, etc. Counsel may do so in advance and explain that the item was
   11    prepared earlier as ordered by the Court to save time.
   12         3. The Court will establish reasonable time estimates for opening and

   13    closing, arguments, examination of witnesses, etc.

   14         B. OBJECTIONS TO QUESTIONS
   15         1. Counsel must not use objectins for the purpose of making a speech,
   16    recapitulating testimony, or attempting to guide the witness.
   17         2. When objecting, counsel must rise to state the objection and state only

   18    that counsel objects and the legal ground of objection. If counsel wishes to argue

   19    an objection further, counsel must ask for permission to do so.

   20         C. GENERAL DECORUM

   21         1. Counsel should not approach the CRD or the witness box without
   22    specific permission. If permission is given, counsel should return to the lecturn
   23    when the purpose has been accomplished. Counsel should not question a witness
   24    at the witness stand.

   25         2. Counsel and parties should rise when adddressing the Court, and when the

   26    Court or the jury enters or leaves the courtroom.

   27         3. Counsel should address all remarks to the Court. Counsel are not to
   28    address the CRD, the court reporter, persons in the audience, or opposing counsel

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         while on the record. If counsel wish to speak with opposing counsel, counsel
    2    must ask permission to do so. Any requset for the re-reading of questions or
    3    answers must be addressed to the Court. Such requests should be limited and are
    4    not likely to be granted.

    5         4. Counsel should not address or refer to witnesses or parties by first name
    6    alone. Young witnesses (under 14) may, however, be addressed and referred to by
    7    first name.
    8         5. Counsel must not offer a stipulation unless counsel has conferred with
    9    opposing counsel and has verified that the stipulation will be acceptable.
    10        6. While Court is in session, counsel must not leave counsel table to confer
    11   with any personnel or witnesses unless permission has been granted in advance.
    12        7. Counsel should not be facial expression, nodding, or other conduct

    13   exhibit any opinion, adverse or favorable, concerning any testimony being given

    14   by a witness, statements or arguments by opposing counsel, or rulings by the
    15   Court. Counsel should admonish counsel's own clients and witnesses to avoid
    16   such conduct.
    17        8. Counsel should not talk to jurors at all, and should not talk to co-

    18   counsel, opposing counsel, witnesses, or clients where the conversation can be

    19   overheard by jurors. Each counsel should admonish counsel's own clients and

    20   witnesses to avoid such conduct.

    21        9. Where a party has more than one lawyers, only one may conduct the
    22   direct or cross-examination of a particular witness, or make objections as to that
    23   witness.
    24        D. PROMPTNESS OF COUNSEL AND WITNESSES

    25        1. The Court makes every effort to begin proceedins at the time set.

    26   Promptness is expected from counsel and witnesses. Once counsel are engaged in

    27   trial, the trial is counsel's first priority. The Court will not delay the trial or
    28   inconvenience jurors except under extraordinary circumstances. The Court will

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          advise other courts that counsel are engaged in trial in this Court on request.
    2          2. If a witness was on the stand at a recess or adjournment, counsel must
    3     have the witness back on the stand, ready to proceed, when the court session
    4     resumes.

    5          3. Counsel must notify the CRD in advance if any witness should be
    6     accommodated based on a disability or for other reasons.
    7          4. No presenting party may be without witnesses. If counsel has no more
    8     witnesses to call and there is more than a brief delay, the Court may deem that
    9     party to have rested.
    10         5. The Court attempts to cooperate with professional witnesses and will,
    11    except in extradinary circumstances, accommodate them by permitting them to
    12    be called out of sequence. Counsel must anticipate any such possibility and

    13    discuss it with opposing counsel. If there is an objection, counsel must confer
    14    with the Court in advance.
    15         E. EXHIBITS
    16         1. Each counsel should keep counsel's own list of exhibits and should note
    17    when each has been admitted into evidence.

    18         2. Each counsel is responsible for any exhibits that counsel secures from

    19    the CRD and must return them before leaving the courtroom at the end of the

    20    session.
    21         3. An exhibit not previously marked should, at the time of its first mention,
    22    be accompanied by a request that the CRD mark it for identification. To save
    23    time, counsel must show a new exhibit to opposing counsel before it is mentioned
    24    in court.

    25         4. Counsel are to advise the CRD of any agreements they have with respect

    26    to the proposed exhibits and as to those exhibits that may be received so that no
    27    further motion to admit need be made.
    28         5. When referring to an exhibit, counsel should refer to its exhibit number

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          whenever possible. Witnesses should be asked to do the same.
    2          6. Counsel must not ask witnesses to draw charts or diagrams or ask the
    3     Court's permission for a witness to do so. If counsel wishes to question a witness
    4     in connection with graphic aids, the material must be fully prepared before the

    5     court session starts.
    6          F. DEPOSITIONS
    7          1. All depositions to be used at trial, either as evidence or potentially for
    8     impeachment, must be lodged with the CRD on the first day of trial or such earlier
    9     date as the Court may order. Counsel should verify with the CRD that the
    10    relevant deposition is in the CRD's possession.
    11         2. In using depositions of an adverse party for impeachment, either one of
    12    the following procedures may be used:

    13                 a. If counsel wishes to read the questions and answers as alleged
    14    impeachment and ask the witness no further questions on that subject, counsel
    15    must first state the page and line where the reading begins and the page and line
    16    where the reading ends, and allow time for any objection. Counsel may then read
    17    the portions of the deposition into the record.

    18                 b. If counsel wishes to ask the witness further questions on the

    19    subject matter, the deposition is placed in front of the witness and the witness is

    20    told to read silently the pages and lines involved. Counsel may either ask the
    21    witness further questions on the matter and then read the quotations, or read the
    22    quotations and then ask further questions. Counsel should have an extra copy of
    23    the deposition for this purpose.
    24         3. Where a witness is absent and the witness's testimony is offered by

    25    deposition, counsel may (a) have a reader occupy the witness chair and read the

    26    testimony of the witness while the examining layer asks the questions, or (b)
    27    have counsel read both the questions and answers.
    28         G. USING NUMEROUS ANSWERS AND INTERROGATORIES AND

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    1
                    REQUESTS FOR ADMISSIONS
    2          Whenever counsel expects to offer a group of answers to interrogatories or
    3     requests for admission extracted from one or more lengthy documents, counsel
    4     should prepare a new document listing each question and answer, and identifying

    5     the document from which it has been extracted. Copies of this new document
    6     should be given to the Court and opposing counsel.
    7          H. ADVANCE NOTICE OF DIFFICULT OR UNUSUAL ISSUES
    8          If any counsel has reason to anticipate that a difficult question of law or
    9     evidence will necessitate legal argument requiring research or briefing, counsel
    10    must give the Court advance notice. Counsel are directed to notify the CRD at the
    11    day's adjournment if an unexpected legal issue arises. Counsel must also advise
    12    the CRD at the end of each trial day of any issues that must be addressed outside

    13    the presence of the jury, so that there is no interruption of the trial. THE COURT
    14    WILL NOT KEEP JURORS WAITING.
    15
    16    N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES
    17    APPEARING IN PROPRIA PERSONA.

    18
             IT IS SO ORDERED.
    19
         DATED: July 25, 2022                        /s/ Dale S. Fischer
    20                                              Dale S. Fischer
                                                    United States District Judge
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    7
    8                        UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
    10                                              )   CASE NO. CV     DSF( x)
                                                    )
    11                                              )
                                                    )
    12                                              )
                               Plaintiff(s),        )
    13                                              )
                                                    )   EXHIBIT LIST
    14     vs.                                      )
                                                    )
    15                                              )
                                                    )   SAMPLE FORMAT
    16                                              )
                               Defendant(s).        )
    17                                              )
    18
           EX. No.          DESCRIPTION                   IDENTIFIED    ADMITTED
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                                                                   FINAL JOINT TRIAL WITNESS ESTIMATE FORM

CASE: ___________________________                                                                                                           TRIAL DATE: ___________________________


                                                    PARTY CALLING                X−EXAMINER’S
                 WITNESS NAME                        WITNESS AND                   ESTIMATE              DESCRIPTION OF TESTIMONY                         COMMENTS
                                                      ESTIMATE

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        TOTAL ESTIMATES THIS PAGE:


                                                                                         Instructions:

(1) List witnesses (last name first); (2) For description, be extremely brief, e.g., “eyewitness to accident” or “expert on standard of care;” (3) Use estimates within fractions of an hour,
rounded off to closest quarter of an hour, e.g., if you estimate 20 minutes, make it .25. An estimate of one and one−half hours would be 1.5. An estimate of three−quarters of an hour
would be .75; (4) Note special factors in “Comments” column, e.g., “Needs interpreter;” (5) Entries may be in handwriting if very neat and legible.




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